          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                        CRIMINAL NO. 1:06CR45-2


UNITED STATES OF AMERICA )
                         )
                         )
         VS.             )                      ORDER
                         )
                         )
MISAEL PEREZ ZARAGOZA    )
                         )


      THIS MATTER is before the Court sua sponte to continue the trial

from the July 2006 term in the Asheville Division.

      Defendant was arraigned on June 16, 2006, less than thirty days

ago. "Unless the defendant consents in writing to the contrary, the trial

shall not commence less than thirty days from the date on which the

defendant first appears through counsel or expressly waives counsel and

elects to proceed pro se." 18 U.S.C. § 3161(c)(2). The Defendant here

has not so consented.

      In addition, because counsel was only recently retained, he has not

had an adequate opportunity to prepare for trial, taking into account the

exercise of due diligence. The Court, therefore, finds that a failure to grant




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the continuance "would unreasonably deny the defendant the reasonable

time necessary for effective preparation, taking into account the exercise of

due diligence." 18 U.S.C. § 3161(h)(8)(B)(iv).

     For the reasons stated herein, the ends of justice served by the

granting of the continuance outweigh the best interests of the public and

the Defendant in a speedy trial. 18 U.S.C. § 3161(h)(8)(A).

     IT IS, THEREFORE, ORDERED that this matter is hereby

CONTINUED from the July 2006 term in the Asheville Division.



                                      Signed: June 19, 2006




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